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VISION y ACADEMICS = RCA LOCATIONS » ADMISSIONS OUICK LINKS *

Admissions

APPLY NOW

Admissions Process

 

We encourage all prospective families to schedule a tour at their closest Regina Caeli center prior to
applying. This is usually the best discernment too! we can offer! H Regina Caeli is definitely for your
family, the next step is submitting the application along with a non-refundable application fee.

Upon receipt of the application, the local coordinator of education will contact you to schedule a
Family interview (both parents mast be present) ad the center during class hours. The interview is very
important to the admissions process, since Regina Caeli communities depend on awareness of and
eagerness for the Regina Caeli model.

After the family interview, you will receive notice of acceptance and whether there is space for your
child(ren) in their respective grade levels. Your student(s) will take the Regina Caeli assessments in
Math, Language Arts, and Latin in the late spring or during the summer depending upon when
admission to Regina Caeli takes place. These assessments finalize the student's placement and ensure
his or her success at Regina Caeli.

We look forward to hearing from you!

Tuition and Fees

Application and Assessment Fees

$175.00 online application fee per family

$ 50.00 Ist-12th grade student entrance assessment fee/transcript review with a family max of
$200.00*

“Due prior to the administration of assessments

Tuition

Drop Off Program - Mondays and Thursdays

$ 2250.00 per year per student Prek-3 - Full Day

$ 2750.00 per year per student Prek-4 - Full Day

$ 3000.00 per year per student Kindergarten - Full Day
$ 3250.00 per year per student for [st - 6th grades

$ 3750.00 per year per student for 7th - 8th grades

$ 4000.00 per year per student for 9th - 12th grades

Staff Tuition Program - Mondays and Thursdays
$3250.00 per family per year for unlimited number of children
$650.00 per student for 7th - 12th grades

Yearly Fees**

$185.00 one-time Family Supply Fee

$50.00 per child IOWA Testing Fee (Ist-12th grades)

$45.00 Retreat Fee (7th- 12th prades) (Retreat is mandatory)

$46.00 FACTS fee (Set up fee for tuition and family account)

**A Family Fundraising goal per semester, as determined by the Board of Directors based on yearly
budget needs,

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Tuition and Fees*
* These fees are for 2015-2016. 2016-2017 tuition fees will be announced at the end
of the year.

 

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**A Family Fundraising Fee is assessed per semester, as determined by the Board of Directors,
